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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

STATE OF TEXAS, et al.,

            Plaintiffs,

v.                                                             No. 5:22-CV-185-H

XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services,
et al.,

            Defendants.
                                            NOTICE
        A hearing is set for the plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction (Dkt. No. 22) on August 18, 2022, at 1:00 p.m. CST in the United

States District Court, Courtroom C-216, 1205 Texas Avenue, Lubbock, Texas 79401. Dkt.

No. 31. To aid the parties’ preparation, the Court specifies the following procedural

guidelines.

        Each side shall have one hour to present their arguments, with time to be distributed

by each side as the respective parties see fit. Separately and as necessary, the Court will

permit the parties to present witness testimony and other evidence, and the time used for

such presentation will not be counted against the parties’ argument time. Additional time

for evidence and arguments may be granted as needed.

        Finally, the parties should be prepared to address the following questions during the

hearing:

        •     How do the parties define “abortion,” and what is their authority for doing so?

        •     Assuming a notice-and-comment violation, what evidence or authority
              demonstrates the plaintiffs’ injury in fact and how any injury would be redressed
              by a favorable judicial decision?
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   •   Is the determination of whether Congress unambiguously imposed a condition on
       the grant of federal money evidence-dependent, a legal determination, or both? If
       the analysis is evidence-dependent, what evidence, if any, have the plaintiffs
       provided (or do they expect to provide) demonstrating that hospitals accepting
       federal funding were not able to “exercise their choice [to accept or reject federal
       funds] knowingly, cognizant of the consequences of their participation”? South
       Dakota v. Dole, 483 U.S. 203, 207 (1987) (quoting Pennhurst State Sch. & Hosp. v.
       Halderman, 451 U.S. 1, 17 (1981)). For example, has any hospital that receives
       federal funds not previously provided abortions but would now be required to do
       so against its wishes?

   •   What would be the proper scope of any injunction that might issue? In the
       plaintiffs’ view, what scope of relief is necessary and appropriate? In the
       defendants’ view, how should any injunction be limited, and why? See Louisiana
       v. Becerra, 20 F.4th 260 (5th Cir. 2021).


   So ordered on August 16, 2022.



                                           JAMES WESLEY HENDRIX
                                           UNITED STATES DISTRICT JUDGE




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